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                       UNITED STATES DISTRICT COURT
6                     WESTERN DISTRICT OF WASHINGTON
                                AT SEATTLE
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     PLAINTIFF PACITO; PLAINTIFF                CASE NO. 2:25-cv-255-JNW
8    ESTHER; PLAINTIFF JOSEPHINE;
     PLAINTIFF SARA; PLAINTIFF                  ORDER
9    ALYAS; PLAINTIFF MARCOS;
     PLAINTIFF AHMED; PLAINTIFF
10   RACHEL; PLAINTIFF ALI; HIAS,
     INC.; CHURCH WORLD SERVICE,
11   INC., and LUTHERAN COMMUNITY
     SERVICES NORTHWEST,
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                         Plaintiffs,
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            v.
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     DONALD J. TRUMP, in his official
15   capacity as President of the United
     States; MARCO RUBIO, in his official
16   capacity as Secretary of State; KRISTI
     NOEM, in her official capacity as
17   Secretary of Homeland Security;
     ROBERT F. KENNEDY, JR., in his
18   official capacity as Secretary of Health
     and Human Services,
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                         Defendants.
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           On February 25, 2025, the Court granted Plaintiffs’ motion for a preliminary
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     injunction in an oral ruling from the bench, enjoining the implementation of
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1    Sections 3(a), (b), and (c), and Section 4 of Executive Order 14163. Dkt. No. 39; see

2    Dkt. No. 45 (Findings of Fact, Conclusions of Law, and Order Issuing Preliminary

3    Injunction). The next day, the Department of State (DOS) sent Termination Notices

4    to Organizational Plaintiffs HIAS, Inc., and Church World Services, Inc., purporting

5    to terminate their cooperative agreements with DOS effective immediately. See Dkt.

6    Nos. 44-1–44-6; 44-7 at ¶¶ 1, 2.

7          In response, Plaintiffs moved for an emergency status conference. See Dkt.

8    No. 43. They argue that the Termination Notices are “the latest iteration of

9    Defendants’ unlawful attempt to dismantle the U.S. Refugee Admissions Program

10   (“USRAP”) by circumventing… this Court’s oral ruling issued February 25, 2025.”

11   Id. at 1. Defendants claim the opposite: “the Department of State’s termination of

12   individual cooperative agreements with Plaintiffs HIAS, Inc. (“HIAS”) and Church

13   World Services, Inc. (“CWS”) does not violate this Court’s oral ruling.” Dkt. No. 49

14   at 2. They also “propose that Plaintiffs file an amended complaint relating to

15   termination of their contracts (together with any request for relief)[.]” Id.

16         The court has reviewed all documents submitted in support of, and in

17   response to, Plaintiffs’ motion, and heard argument from the parties on March 4,

18   2025. For the reasons expressed at the hearing, the Court agrees that updated

19   pleadings and a supplemental request for injunctive relief are the best course here.

20         Accordingly, the Court ORDERS as follows:

21         1. The Court GRANTS Plaintiffs’ motion for an emergency status conference,

22               Dkt. No. 43.

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1          2. The Court GRANTS Plaintiffs leave to file an amended complaint and a

2                second motion for preliminary relief to address the Termination Notices.

3                The deadline for these new filings is March 5, 2025. Defendants’ response

4                is due on March 7, 2025, and Plaintiffs reply is due no later than March

5                11. All briefs, not updated pleadings, are limited to eight pages.

6          3. The Court ORDERS Defendants to submit a status report by Monday,

7                March 10, 2025, detailing their efforts to resume USRAP consistent with

8                the Court’s injunction. This report must describe, at minimum:

9                   a. Measures that have been taken, or planned, to resume USRAP case

10                     processing and adjudication overseas;

11                  b. Measures that have been taken, or planned, to facilitate the travel

12                     into the United States of individuals who have already been

13                     conditionally approved for refugee status by the United States

14                     Citizenship and Immigration Services (USCIS), including

15                     individual Plaintiffs;

16                  c. Measures that have been taken, or planned, to ensure that arriving

17                     refugees will receive resettlement support services upon arrival—in

18                     particular, addressing the effect of the Termination Notices on the

19                     Government’s ability to meet its statutory obligations to provide

20                     resettlement support services, see Dkt. No. 45 at 42;

21                  d. Measures that have been taken, or planned, to reimburse

22                     organizational Plaintiffs for expenses already incurred subject to

23                     cooperative agreements.


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1          4. By March 14, 2025, the Parties must submit a joint status report on the

2                steps taken to comply with the Court’s preliminary injunction.

3          5. The Court’s preliminary injunction remains in effect.

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6          Dated this 4th day of March, 2025.

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8                                                   Jamal N. Whitehead
                                                    United States District Judge
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